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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


PERLA ENRIQUEZ BACA, as
the Personal Representative of
AMELIA BACA, deceased,

       Plaintiff,

v.                                                                Case No. CIV-22-00552 KRS/GJF

JARED COSPER, in his individual
capacity, THE CITY OF LAS CRUCES, and
LAS CRUCES POLICE CHIEF MIGUEL DOMINGUEZ,

       Defendants.


               ACCEPTANCE OF SERVICE AND WAIVER OF SUMMONS

       Defendants, Jared Cosper, in his individual capacity, the City of Las Cruces, and Las Cruces

Police Chief Miguel Dominguez (“City Defendants”), through their attorneys Robles, Rael & Anaya,

P.C. (Luis Robles), state the following for their Acceptance of Service and Waiver of the Service

of Summons for Plaintiff’s Complaint for Civil Rights Violations and the Wrongful Death of Amelia

Baca (“Plaintiff’s Complaint”):

       1.      City Defendants’ counsel received Plaintiff’s request to waive service of a summons

in this action along with a copy Plaintiff’s Complaint.

       2.      To save the expense of serving a summons and complaint in this case, City

Defendants agree to accept service of Plaintiff’s Complaint. City Defendants understand that they

will keep all defenses and/or objections to the lawsuit, the court’s jurisdiction, and the venue of the

action. That said, City Defendants waive any objections to the absence of a summons or of service.
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       3.      By having accepted service, City Defendants also understand and agree that they

must file and serve an answer or a motion under Rule 12 within 60 days from July 26, 2022, the date

when this request was sent.

       4.      City Defendants understand and agree that they must file and serve an Answer to

Plaintiff’s Complaint or motion under Rule 12 by September 26, 2022.

       WHEREFORE, City Defendants hereby waives service of a summons in this action.

                                             Respectfully submitted,

                                             ROBLES, RAEL & ANAYA, P.C.



                                             By:      /s/ Luis Robles
                                                     Luis Robles
                                                     Attorney for City Defendants
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I hereby certify that the foregoing was
electronically filed through the CM/ECF
on this 3rd day of August 2022 which will
cause service to the following:

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Lead Counsel for Plaintiffs



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Co-Counsel for Plaintiffs



/s/ Luis Robles
Luis Robles




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